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                       Exhibit +
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          *168=-

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          >                                                          
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          87*5-%#&"2712;8//2,2*5,*9*,2<A*;
                                                                       
          ":.;2-.7<8/<1.&72<.-$<*<.;(2552*6"
                                                                       
          !)2712;8//2,2*5,*9*,2<A*;,<270
                                                                                   
          2.5-!//2,.2:.,<8:8/ .?)8:4
                                                                                       
          6620:*<287*7-=;<86;7/8:,.6.7<
          )85*7-*"%% 271.:8//2,2*5,*9*,2<A*;
          (*:-.78/52B*+.<187<:*,<.<.7<287                      
          *,252<A*5.+'%!,<2702:.,<8:
          &$6620:*<287*7-=;<86;7/8:,.6.7<
          :2;<2 !271.:8//2,2*5,*9*,2<A*;
          $.,:.<*:A8/<1.&72<.-$<*<.;.9*:<6.7<8/
          86.5*7-$.,=:2<A*:,8#&!2712;
          8//2,2*5,*9*,2<A*;$.,:.<*:A8/$<*<.*7-"*6.5*
          ! 271.:8//2,2*5,*9*,2<A*;<<8:7.A
          .7.:*5&$.9*:<6.7<8/=;<2,.
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                        -.,5*:.=7-.:9.7*5<A8/9.:3=:A9=:;=*7<<8 &$C 
  <1*<<1./8558?2702;<:=.*7-,8::.,<<8<1.+.;<8/6A478?5.-0.

   A7*6.2;                   *7-*6*;<=-.7<*<85=6+2*&72>.:;2<A9=:;=270*7
                                           =,18/6A,866=72<A*<85=6+2**:.8=<;984.7
         A8=70*->8,*<.;*7-*,<2>2;<;?181*>.+..7,1255.-+A<1.:.,.7<,:*,4-8?787
         /:..;9..,178<*+5A27*168=-1*525F;,*;.
         
       *168=- 1*525F; -.<.7<287 27 *:,1 1*; 1*- * >2;2+5. .//.,< 87 <1. *+252<A *7-
         ?2552707.;; 8/ ;<=-.7<; <8 .@.:,2;. <1.2: /=7-*6.7<*5 /:..-86; 9*:<2,=5*:5A *; 2<
         :.5*<.;<89852<2,*5;9..,1*7-+.1*>28:>.:A+8-A478?;<1*<<1.&72<.-$<*<.;
         08>.:76.7<>2*$.,:.<*:A8/$<*<.*:,8#=+281*;-.<.:627.-<1*<9*:<2,29*<270
         27,*69=;9:8<.;<*7-;9..,127;=998:<8/"*5.;<272*7;2;,87<:*:A<8D&$/8:.207
         9852,AE*7-,8=5-:.7-.:*9.:;87-.98:<*+5.;*:.;=5<;<=-.7<;*:.5.;;?255270
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                                                                                                       
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         78? <8 *<<.7- 9:8<.;<; 98;< 87 <1.2: ;8,2*5 6.-2* *,,8=7<; .@9:.;; ;=998:< /8:
         "*5.;<27.8:*;;8,2*<.?2<1*7A87.?18-8.;
         
       < 5.*;< 87. =7-.:0:*-=*<. 27<.:7*<287*5 ;<=-.7< 1*; ,87;=5<.- 6A 8927287 87
         <:*7;/.::270<8*727;<2<=<2878=<;2-.8/<1.&72<.-$<*<.;<8,8695.<.<1.2:-.0:..
         %12;;<=-.7<1*-9:.>28=;5A+..727,:.-2+5A>8,*5*+8=<<1.2:;=998:</8:"*5.;<27.
         /8558?270<1.+.02772708/<1.;:*.52*;;*=5<87*B*27  8?.>.:<1.A78?
         /..5<1*<<1.A,*7785870.:>82,.<1.2:8927287;/:..5A27<1.&72<.-$<*<.;.;9.,2*55A
         *;*55;<=-.7<;*<85=6+2*&72>.:;2<A/*,.1.201<.7.-;=:>.255*7,.+A<1./.-.:*5
         08>.:76.7<
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       :*-=*<. 27<.:7*<287*5 ;<=-.7<; 1*>. *5;8 >82,.- ;2625*: /.*:; *7A /..5
         =7,86/8:<*+5. 27 <1.2: 8?7 186.; *7- /.*: +.270 *+-=,<.- +A .9*:<6.7< 8/
         86.5*7-$.,=:2<A*0.7<;8:<12;:.*;87<1.A1*>.;<*:<.-;<*A270?2<1/:2.7-;
         27;<.*-8/27<1.2:8?7186.;8:1*>.<*4.78<1.:6.*;=:.;<89:8<.,<<1.6;.5>.;
       $<=-.7<;?18*:.6.:2,*7,2<2B.7;8:5.0*5:.;2-.7<;1*>..@9:.;;.-<1*<<1.A*:.
         =7?255270 <8 9=+52,5A >82,. <1.2: ;=998:< /8: "*5.;<27. /8: /.*: <1*< <1.A ?255 +.
         ;=:>.255.- 27 9=+52, 8: <1*< <1.2: ;9..,1 87 ;8,2*5 6.-2* ?255+. -8,=6.7<.- *7-
         :.98:<.-%1.;.;<=-.7<;*:.*5;8?*:A8/98<.7<2*5,:2627*5,1*:0.;*;*:.9.:,=;;287
         8/.@.:,2;270/:..;9..,127;=998:<8/"*5.;<27.78?<1*<*168=-1*;/*,.-<1:..
         687<1;8/-.<.7<287/8:12;;9..,1*587.
       !7.9*:<2,=5*:;<=-.7<?181*-?:2<<.7*<1.;2;9*9.:87<1.2:;<6.7-6.7<*;
         2<:.5*<.;<8<1.:.."*5.;<27.68>.6.7<27<1.&$.@9:.;;.-<1*<;1.?*7<.-<8
         1*>.1.:?:2<2709=+52;1.-27*7*,*-.62,38=:7*5+=<?*;:.<2,.7<*+8=<=;2701.:
         :.*5 7*6. *; <12; 6201< ,*=;. 5.0*5 9:8+5.6; 27 <1. /=<=:. 8: ,*=;. 1.: <8 +.
         8<1.:?2;.<*:0.<.-478?8/*<5.*;<87.8<1.:;<=-.7<?181*;9=+52;1.-*9*9.:
         87527.=;270*9;.=-87A6/8:<12;:.*;87

   *7A ;<=-.7<; 27 6A ,866=72<A 1*>. *5;8 .@9:.;;.- 1.;2<*<287 *+8=< <:*>.5270
      *+:8*-<8>2;2</*625A8:/8:,*:..:8998:<=72<2.;8>.:<1.;=66.:%1.A/.*:+.270
      27<.::80*<.-8:<1.2:-.>2,.;+.270;.*:,1.-*<<1.+8:-.:;27,.27<.:*,<287;?2<15*?
      .7/8:,.6.7< ,8=5- 5.*- <8 <1.2: *:+2<:*:A *::.;< .>.7 2/ * ,:26. 1*; 78< +..7
      ,8662<<.-
   %12;,1255270.//.,<2;-=.<8<1.,2:,=6;<*7,.;8/*168=-F;-.<.7<287;/*:*;
      <1.,866=72<A=7-.:;<*7-;*168=-2;+.270-.<*27.-/8:12;;9..,1*587.;
      ;=,178<875A*:.;<=-.7<;*/:*2-<8;9.*49852<2,*55A*+8=<"*5.;<27.+=<<1.A*:.
      *5;8*/:*2-<89=+52,5A*;;8,2*<.?2<18<1.:;?18-8.@.:,2;.<1.2:;9..,127;=998:<
      8/"*5.;<27.

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  -.,5*:.=7-.:9.7*5<A8/9.:3=:A<1*<<1./8:.082702;<:=.*7-,8::.,<

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  *<.-=7.                             $207.-
    .?)8:4 )                                
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          :9,7/&$' #4934>:114.4,7.,;,.4?D,>
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          #=0>4/09?:1?30'94?0/%?,?0>)4774,8#
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          "*4934>:114.4,7.,;,.4?D,>.?492
                                                                            
          407/"114.04=0.?:=:1!0B*:=6
          8842=,?4:9,9/@>?:8>91:=.0809?
          *:7,9/,#&& !4930=:114.4,7.,;,.4?D,>
          ),=/09:174E,-0?3:9?=,.?0?09?4:9
          ,.474?D,70-(&".?4924=0.?:=
          '%8842=,?4:9,9/@>?:8>91:=.0809?                     
          =4>?4!" 4930=:114.4,7.,;,.4?D,>
          %0.=0?,=D:1?30'94?0/%?,?0>0;,=?809?:1
          :807,9/%0.@=4?D ,=.:$'"4934>
          :114.4,7.,;,.4?D,>%0.=0?,=D:1%?,?0,9/#,807,
          "!4930=:114.4,7.,;,.4?D,>??:=90D
          090=,7'%0;,=?809?:1@>?4.0
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                                /0.7,=0@9/0=;09,7?D:1;0=5@=D;@=>@,9??: 
  '%F  ?3,??301:77:B4924>?=@0,9/.:==0.??:?30-0>?:18D69:B70/20
          D 9,80 4>                                          ,9/  ,8 , =0.09? 2=,/@,?0 1=:8
           :7@8-4,'94A0=>4?D
       &30?,=20?492,9/@95@>?/0?09?4:9:1 ,38:@/3,7473,>3,/=4;;700110.?>,.=:>>
         .:88@94?40> > B0 69:B ,38:@/ B,> ?,=20?0/ 1:= >;0,6492 @; ,2,49>? ?30
         :92:492209:.4/049,E,,9/1:=?3074-0=,?4:9:134>:B9;0:;701:=#,70>?490
           @.3:134>,.?4A4>8B,>-,>0/,??30>.3::7B0,??09/0/:7@8-4,'94A0=>4?D
           ,38:@/,7>:74A0/49:7@8-4,3:@>492
       98D.,;,.4?D,>,:7@8-4,>?@/09?,??30?480:134>/0?09?4:93,A0>009,7:?
         :110,=1:=,E,1:= ,38:@/,9/1:=;0:;70>I1=00/:8>49?304=,/A:.,.D1:=
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         #,70>?490&30B,D ,38:@/4>-0492?,=20?0/1:=/0;:=?,?4:9,9//0080/,G?3=0,?
         ?:'%1:=0429;:74.DH>48;7D-0.,@>0:134>>;00.349>@;;:=?:1?30#,70>?494,9
         ;0:;703,>3,//4=0.?48;74.,?4:9>0>;0.4,77D:9;0:;70B3:/:9:?3,A080=4.,9
         .4?4E09>34;
         
       := 0C,8;70 ,1?0= ?30 2:A0=9809? ,-/@.?0/ ,38:@/ 8,9D >?@/09?> 8D
         .7,>>8,?0>>?:;;0/2:492?:?304=.7,>>0>,A4929:?0/:7@8-4,I>.:77,-:=,?4:9
         B4?3 % ?30=0 B0=0 >?@/09?> B3: B0=0 ,1=,4/ ?: >?0; :9?: :7@8-4,:B90/
         ;=:;0=?D%:80>?@/09?>B3:74A0/49:7@8-4,-@47/492>8:A0/:@?:110,=1:=
         ?304=>,10?D,9/1=00/:8%?@/09?>B3:3,A09:?-009,-70?:8:A0:@?:1?304=
         :7@8-4,3:@>4923,A074A0/49,;0=;0?@,710,=,9/,9C40?D,??30;:?09?4,77DA4:709?
         :@?.:80>?30D.:@7/1,.01=:8?30>.3::7,9/%%49.0 ,38:@/B,>/0?,490/
         >:80;0:;703,A0-,=07D701??304=3:80>:@?:110,=:1-0492/0?,490/,>30B,>
        3,A0 >009 3:B >?@/09?> ,9/ 1,.@7?D B3: 3,A0 ;@-74.7D >;:609 @; B=4??09
         ;@-74>30/ ,9/ ?,@23? 49 >@;;:=? 1:= , 1=00 #,70>?490 ,9/ 09/ ?: ?30 :92:492
         209:.4/049,E,,=01,.492?,=20?492%:80>?@/09?>,=0,1=,4/?:70,A0?30.:@9?=D
         ,9/-0/0?,490/@;:9=0?@=9,9/>:80>?@/09?>3,A0-009;@>30/?:70,A0?30'%
         ,>74A49230=04910,=-0.,80@9>@>?,49,-701:=?308%49.0 ,38:@/I>/0?09?4:9>
         49?0=9,?4:9,7 >?@/09?> B3: ,=0 #,70>?494,9 ,9/:= ,/A:.,?0> 1:= #,70>?490 3,A0
         .:914/0/ 49 80 ?304= 10,=> ,-:@? ,=?4.70> ?30DIA0 B=4??09 := >:.4,7 80/4, ;:>?>
         49?0=A40B> := ;3:?:> /0;4.?492 ?304= ;,=?4.4;,?4:9 49 ;=:?0>?> ,9D 49?0=9,?4:9,7
         >?@/09?>,=09:B,1=,4/?:,??09/;=:?0>?>,9/8,=.30>1:=#,70>?490:@?:1?3010,=
         :1;:74?4.,7/0?09?4:9,>4>-0492/:90?: ,38:@/&30D3,A074A0/49,;0=;0?@,7
         ,9C40?D ,? ?30 A0=D =0,7 ?3=0,? :1 % ?,=20?492 ,9/ 49/01494?0 /0?09?4:9 ,> 4>
         3,;;09492?: ,38:@/
   %49.0 ?30 ?,=20?492 :1 ,38:@/ ,9/ ?30 >@->0<@09? =,8;,20 ?,=20?492 :1
      #,70>?494,9> ;=:#,70>?490 ,.?4A4>?> ,9/ 48842=,9?> -D % ,9/ ?30 &=@8;
      ,/8494>?=,?4:9-=:,/7D8,9D;0:;70,=0,7B,D>:9?307::6:@?,=049.:9>?,9?;,94.
      ,9/3D;0=A4247,9.08,9D;0:;703,A09:?-009,-70?:>700;1=:8?34>10,=&34>4>
      0>;0.4,77D ?=@0 B4?3 >?@/09?> ,? :7@8-4, -0.,@>0 :1 ?30 B,D ?3,? ,38:@/I>
      ,.?4A4>8,>,#,70>?494,9>?@/09?,?:7@8-4,3,>-0090C;74.4?7D@>0/,2,49>?348?:
      5@>?41D34>49/01494?0/0?09?4:9 ,9D>?@/09?>10,=?3,??30D,=090C?,9/?30=0,=0
      8,9D >?@/09?> B3: 3,A0 -009 0C;74.4?7D ?3=0,?090/ -D ?30 >,80 493@8,90
      ?=0,?809?
  /0.7,=0@9/0=;09,7?D:1;0=5@=D?3,??301:=02:4924>?=@0,9/.:==0.?

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  ,?0/@90                   %4290/
  !0B*:=6!*                      
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           Columbia housing. I was so overcome with fear that I couldn’t bring myself to enter the
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           Ever since Mahmoud’s detention, I’ve been living with a constant, irrational fear that I, too,
           could be targeted or detained at any moment. That’s what it felt like happened to him.
        Columbia         ’s student body is made up of over 50% international students. Since
           Mahmoud’s detainment, many of those students have shared that they no longer feel safe
           attending class. I’ve witnessed this firsthand—-6+<< +==/8.+8-/ 2+< 89=3-/+,6B ./-638/.
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           afraid to speak up, whether in the classroom or even in informal spaces like our cohort’s
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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


 Mahmoud KHALIL,

                Petitioner,

 v.

 Donald J. TRUMP, in his official capacity as          Case No. 25-cv-01963
 President of the United States; William P.            (MEF-MAH)
 JOYCE, in his official capacity as Acting
 Field Office Director of New York,                    DECLARATION OF
 Immigration and Customs Enforcement;
 Yolanda PITTMAN, in her official capacity
 as Warden of Elizabeth Contract Detention
 Facility; Caleb VITELLO, Acting Director,
 U.S. Immigration and Customs
 Enforcement; Kristi NOEM, in her official
 capacity as Secretary of the United States
 Department of Homeland Security; Marco
 RUBIO, in his official capacity as Secretary
 of State; and Pamela BONDI, in her official
 capacity as Attorney General, U.S.
 Department of Justice,

                Respondents.

      I,                       , declare under penalty of perjury, pursuant to 28
U.S.C. § 1746, that the following is true and correct to the best of my knowledge.

      1. My name is                      , and I was a Jewish undergraduate student
         at Barnard College at Columbia University,             .
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 2. Mahmoud’s abduction has created a chilling effect and caused mass fear and
    distress to Columbia students. As a Jewish student, the fact that his
    detainment was done in the name of Jewish safety was incredibly scary. I
    fear that tying such a blatant, fascist attack on free speech to the religion I
    love will only fuel antisemitism and I am heartbroken to see my religion
    weaponized in the abduction of my peers.

 3. Moreover, I am deeply scared for my friends and community. For the month
    after Mahmoud was taken, I woke up every morning and checked my phone
    to make sure none of my other friends were taken by ICE. I had trouble
    sleeping and would wake up in the middle of the night with feelings of
    dread. I cried almost every day for a month and a half, and had a really hard
    time keeping up with schoolwork.

 4. I recall on one occasion experiencing a bout of panic and distress in
    anticipation of an                       midterm, and writing to my mother
    that I feared for my classmates and community members that there would be
    an ICE raid
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 5. A few days after my peer, Mohsen Madawi, was also detained by ICE, I
    broke down sobbing in the middle of my senior thesis seminar, in front of
    the whole class, because I was so scared. I felt as if no one on campus was
    safe, and like I was witnessing the rise of fascism and powerless to stop it.

 6. Growing up in a Jewish community, I have been taught from a young age to
    look for the warning signs of fascism. Seeing people I care about deported
    for their political beliefs and identity filled me with dread. I couldn’t
    comprehend how everyone was continuing to go to class and go about their
    daily life.

 7. I know many of my friends have experienced the same. My boyfriend has
    been having flare ups of OCD and anxiety attacks due to the culture of fear
    and apprehension we experienced knowing our community members were at
    risk of deportation. On one occasion, he experienced a panic attack and
    walked himself to the hospital because he was having trouble breathing.

 8. I know multiple international students who fear for their safety and have
    been too scared to speak out in support of Mahmoud, or to engage in
    pro-Palestinian speech. A few days after Mahmoud was taken, I sat next to
    my international friend at a Purim party as she cried for fear she would be
    deported too, having attended a few rallies and reposted some posts. She has
    not felt safe attending protests or engaging in pro Palestinian content on
    Instagram.

 9. Another international classmate told me multiple times how much he wished
    he could stand with us at rallies, or contribute to our divestment efforts, but
    he is too scared he will be targeted and lose his visa. As a result of his very
    real fear, our whole community lost out on the benefit of his voice, opinions,
    and contributions.

 10. Fellow Jewish organizers and I were terrified that any public response to
    our friend Mahmoud Khalil’s abduction, or any type of protest or exercise of
    free speech that got the Trump administration’s attention would trigger
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      another ICE raid and put our friends at risk. For this reason, we discouraged
      international students from attending our demonstration and felt it was only
      safe for demonstrations to be led by Jewish students. Again, this meant that
      our entire community lost out on the incredible contributions of our
      international peers because they rightly fear retaliation and potential
      deportation.

Dated: June 3, 2025                      Signed:
New York, NY
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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


  Mahmoud KHALIL,
                Petitioner,
  v.
                                                           Case No. 25-cv-01963
  Donald J. TRUMP, in his official capacity as
                                                           (MEF-MAH)
  President of the United States; William P.
  JOYCE, in his official capacity as Acting
                                                           DECLARATION OF
  Field Office Director of New York,
                                                           SHAY LEV
  Immigration and Customs Enforcement;
                                                           ORENTLICHER
  Yolanda PITTMAN, in her official capacity as
  Warden of Elizabeth Contract Detention
  Facility; Caleb VITELLO, Acting Director,
  U.S. Immigration and Customs Enforcement;
  Kristi NOEM, in her official capacity as
  Secretary of the United States Department of
  Homeland Security; Marco RUBIO, in his
  official capacity as Secretary of State; and Pamela
  BONDI, in her official capacity as Attorney
  General, U.S. Department of Justice,

                Respondents.

      I, Shay Lev Orentlicher, declare under penalty of perjury, pursuant to 28 U.S.C.
§ 1746, that the following is true and correct to the best of my knowledge.
1. I am Shay Lev Orentlicher. I am a Jewish student at Columbia University and an
   organizer with Columbia-Barnard Jewish Voice for Peace.
2. Since Mahmoud has been detained, I have found myself second guessing everything
   I do. I am afraid that I or people I love will be targeted if I am politically active.
   Though I have tried to continue to exercise my free speech rights since Mahmoud
   was taken, I second-guess everything in a way I never did before because the
   potential consequences feel so much greater not just for me but for my community.
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3. I have told my international friends that they do not have to spend time with me in
   public in case association with me jeopardizes their safety. Out of fear, some of my
   friends and I now only meet in private spaces to ensure their safety.
4. One of the classes I took last spring was a large political theory lecture about
   justice. Mahmoud was detained shortly before our midterm examination, and as a
   result, the professor sent out an email informing us that if any student in the class
   had real reason to think they were at risk of being targeted by immigration and
   were afraid to come on campus, they did not have to come in for the midterm and
   could take it at a later date. A couple weeks later, my Teaching Assistant sent out
   an email providing information about accommodations for those who had been
   unable to come in person to take the midterm — indication that students in the
   class did indeed have to miss the examination out of fear.

5. Later in the semester, the same class included a lecture on Palestine and Israel.
   Though it is a large class, the professor likes to open it up for discussion and
   debate, especially when the lectures are on specific issues. We had lively debates
   about surrogacy, abortion, and hate speech, among other controversial topics
   without issue. Not a single student raised their hand to voice an opinion when the
   topic was Palestine. When I went to ask the professor a question after the lecture,
   he told me he has been teaching this course for over twenty years, and every single
   time he taught it, the same lively debate ensued for the Palestine-Israel lecture.
   This was the first time he had taught the course that nobody had been willing to
   share an opinion. He told me he thought Mahmoud’s detention was a huge factor
   in creating this atmosphere of fear.

6. The scariest moment for me after Mahmoud was taken, when I saw the true depth
   of this chill, came with Passover. I was inviting all of my Jewish friends to the
   seder I was organizing for anti-Zionist Jews, and I invited one Jewish friend who
   was an international student. She said she would love to, especially since she didn’t
   have another seder to attend, but she asked me, “Is this seder the kind of thing
   that could make me lose my visa?” I did not know how to answer. I clarified that it
   was a community space for religious ritual, not a political action or protest, but
   that given Mahmoud’s circumstances, I didn’t know if that made it safe for her to
   attend. She did not come to the seder.

7. The atmosphere of fear at Columbia is palpable. What happened to Mahmoud is
   impossible to ignore, and it has shaped how we interact with one another and our
   academic environment. When students are afraid to go to class, take exams, raise
   their hand in lecture, attend religious events, and spend time with their friends,


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   that constitutes a terrifying chill. It is a chill that undoubtedly has affected
   international students most, but the rest of us feel it, too.

8. I am afraid of how anything and everything I say will reflect upon international
   students at Columbia. Before I say anything related to Palestine, I question if my
   words will be maligned in tabloids that are later submitted as evidence against
   another international student.

9. I cannot speak freely if my words – for which I and only I should be responsible –
   will be weaponized by the federal government against my peers in immigration
   courts.


Dated: May 31, 2025                               Signed:
Indianapolis, IN
                                                  /s/Shay Lev Orentlicher




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        ),=/09:174E,-0?3:9?=,.?0?09?4:9                
        ,.474?D,70-(&".?4924=0.?:=
        '%8842=,?4:9,9/@>?:8>91:=.0809?
        =4>?4!" 4930=:114.4,7.,;,.4?D,>
        %0.=0?,=D:1?30'94?0/%?,?0>0;,=?809?:1
        :807,9/%0.@=4?D ,=.:$'"4934>
        :114.4,7.,;,.4?D,>%0.=0?,=D:1%?,?0,9/
        #,807,"!4930=:114.4,7.,;,.4?D,>
        ??:=90D090=,7'%0;,=?809?:1
        @>?4.0
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                    /0.7,=0@9/0=;09,7?D:1;0=5@=D;@=>@,9??: '%F  
?3,??301:77:B4924>?=@0,9/.:==0.??:?30-0>?:18D69:B70/20
          D9,804>            ,9/,8,=4>492?34=/D0,=#3>?@/09?,9/49>?=@.?:=
         ,?:7@8-4,'94A0=>4?D

     #=4:= ?: ,38:@/I> /0?09?4:9 :7@8-4, '94A0=>4?D B,> ,7=0,/D 3:>?470 ?: ;=:
       #,70>?494,9 >;00.3 %?@/09?> B0=0 1=0<@09?7D /:CC0/ 3,=,>>0/ ,9/ 3,=>37D
       /4>.4;7490/-D@94A0=>4?D1,.@7?D,9/,/8494>?=,?4:9
     &30&=@8;/8494>?=,?4:9>,-/@.?4:9:1 ,38:@/3,7473,>3,/,A0=D.3477492
       0110.??3=:@23:@??30.,8;@>4>B,==,9?70>>/0?09?4:9>0?:11,90BB,A0:1
       ?=,@8,?3=:@23:@??30.,8;@>%?@/09?>107?0C?=0807D@9>,1069:B492?3,??30
    Case 2:25-cv-01963-MEF-MAH         Document 284-8       Filed 06/05/25    Page 25 of 65
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                                                                                              
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      '94A0=>4?D,/8494>?=,?4:9?3,?B,>80,9??:;=:?0.??308B,>,.?4A07D;@??492
      ?308,?=4>6.:77@/492B4?3?30:A0=9809??:/0?,49:@=;00=>1:=-0492
      ,>>:.4,?0/B4?3;=:?0>?,.?4A4?D>,=0>@7?8,9D>?@/09?>>?:;;0/,??09/492
      .7,>>0>84>>0/A4?,730,7?3,;;:49?809?>B34.3B0=07:.,?0/:9.,8;@>B0=0
      ,->09?,?8,9/,?:=D800?492>,9/>?0;;0//:B91=:870,/0=>34;=:70>,??30
      '94A0=>4?D,77/@0?:10,=:1-0492?,=20?0/
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     &300C,8;70>/0>.=4-049?34>/0.7,=,?4:9,=0?30?0>?,809?>:18D.7,>>8,?0>
       ;=:10>>:=>>?,11,9/1=409/>G>?:=40>3,A0-009?=@>?0/B4?3,9/>?=0>>:=>IA0
       14=>?3,9/:->0=A0/498D4880/4,?0.:88@94?D
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     4>,==0>?,9//0?09?4:9:9@94A0=>4?D;=:;0=?D/08:9>?=,?0/3:B0,>47D?30
       0;,=?809?:1:807,9/%0.@=4?D%,..0>>0/;=4A,?0.,8;@>;=:;0=?D
       B4?3:@?,B,==,9?%0A0=,7>?@/09?>49.7@/492'%.4?4E09>>:@23?=01@20:@?>4/0:1
       '94A0=>4?D3:@>492:@?:110,=:1-0492?,=20?0/-D?3010/0=,72:A0=9809?
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 9/1:=?3:>0B3:3,/9:B30=0?:2:?307:>>:13:@>492B,>,7::8492
    .:9.0=91:=8,9D49.7@/492>:80?3,?3,/849:=.347/=091@=?30=.:8;:@9/492
    ?30>?=0>>,9/10,=
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 %:800A09?>3:>?0/-DA,=4:@>0;,=?809?>49.7@/4920A09?>-=:,/7D=07,?0/?:
    ?30 4//70,>?B0=0.,9.070//@=492?34>?48010,=492%B:@7/@>0?308,>,
    A09@01:=>@=A0477,9.0,9/?,=20?492
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    ?:;=:?0.?>?@/09?>-@?:7@8-4,I>#=:A:>?0C;=0>>7D;=:34-4?0/?3081=:8/:492
    >:&34>1:=.0/>?@/09?>?:.3::>0-0?B009;@=>@492?304=0/@.,?4:9,9/
    9,A42,?492,3:>?470,9/=0;=0>>4A0.,8;@>09A4=:9809?
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 >,=0>@7?:1?34>09A4=:9809?8,9D>?@/09?>,7>:/4/9:??=,A07?:,.,/084.
    .:910=09.0>=01=,490/1=:8;@-74>3492?304=>.3:7,=>34;.3:>09:??:>;0,6:9
    ;,907>,9/.0,>0/?304=/@?40>,>?0,.3492,>>4>?,9?>10,=492?3,??3:>0,.?4A4?40>
    8423?8,60?308A@790=,-70?:?30>,80?,=20?492,9//0?09?4:9 ,38:@/
    0C;0=409.0/1:=?304=;:74?4.,7>;00.3,9/,.?4A4?D=,/@,?0>?@/09?B:=60=>1:@9/
    ?308>07A0>@9,-70?:1@71477?304=,.,/084.,9/;=:10>>4:9,7=0>;:9>4-474?40>@9/0=
    ?30>,800C?=080>?=0>>
      
    !@80=:@>#,70>?494,9>?@/09?>>:@23?;>D.3:7:24.,7>@;;:=??3=:@23:7@8-4,
       #>D.3:7:24.,7%0=A4.0>#%/@=492?34>;0=4:/?70,>?3,71,/:E09>?@/09?>
       0C;=0>>0/0C;0=409.492/0-474?,?492>D8;?:8>49.7@/492A:84?492/4,==30,
       ;,=,9:4,9423?8,=0>/0;=0>>4:9>@4.4/,74/0,?4:9,9C40?D08:?4:9,7/4>?=0>>,9/

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     ;,94.,??,.6>%:80B0=0>:>0A0=07D48;,.?0/?3,??30D3,/?:=024>?0=B4?3?30
     "114.0:14>,-474?D%0=A4.0>B34.34>/:.@809?0/49?30'94A0=>4?DI>:114.4,7
     =0.:=/>
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     &34>:92:492.=4>4>49?0=10=0/B4?3>?@/09?>,-474?D?:800?2=,/@,?4:9,9/
       ,.,/084.;=:2=,8=0<@4=0809?>9?30.,>0:1#3>?@/09?>74608D>0718,9D:1
       B3:8,=0=0<@4=0/?:?0,.3,>,.:9/4?4:9:1?304=1077:B>34;>?3009A4=:9809?
       .:9>?4?@?0/,3:>?470B:=609A4=:9809?&30>0>?@/09?>B0=00C;0.?0/?:;0=1:=8
       ?304=?0,.3492=0>;:9>4-474?40>@9/0=@9=0,>:9,-7D/4>?=0>>492.:9/4?4:9>10,=492
       ?304=.7,>>=::8>,9/?304=>?@/09?>B:@7/-0?,=20?0/-D=,4/>%:80
       ,??08;?0/?:=07:.,?0?304=.7,>>0>:11.,8;@>-@?B0=0,/8:94>30/-D'94A0=>4?D
       ,/8494>?=,?:=>1:=/:492>:
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     &3010,=49>?4770/-D/:CC492.,8;,429>-D'94A0=>4?D,11474,?0>>?@/09?,9/
       1,.@7?DB3:49?@=9=0;:=?0/49/4A4/@,7>?:?302:A0=9809?,9/?30,-/@.?4:9:1
         ,38:@/.,@>0/>:80>?@/09?>?:30>4?,?049=0,.3492:@??:'94A0=>4?D>@;;:=?
       >D>?08>&34>30>4?,?4:9B,>49?09>4140/-D=0;:=?>:1$#A4:7,?4:9>-D?30
       '94A0=>4?D,77020/?:3,A0>3,=0/;=:?0.?0/>?@/09?491:=8,?4:9B4?3808-0=>:1
       :92=0>>&34>-=0,6/:B9:1?=@>?/0?0==0/>?@/09?>1=:8>00649249>?4?@?4:9,7
       ,>>4>?,9.0/@=492,9,7=0,/D;0=47:@>?480
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     %?,11808-0=>,7>:0C;=0>>0/49?09>010,=-:?31=:8?30'94A0=>4?D
       ,/8494>?=,?4:9,9/?3010/0=,72:A0=9809?@9/0=?30&=@8;/8494>?=,?4:9
         ,9DB0=0/00;7D.:9.0=90/,-:@??30'94A0=>4?DI>/:.@809?0/34>?:=D:1
       .::;0=,?4:9B4?37,B091:=.0809?,209.40>49.7@/492?30!*#,9/%
       >,=0>@7?>?,11B0=0,1=,4/?:,>>4>?#,70>?494,9,9/#=:#,70>?494,9>?@/09?>?:
       0A09809?4:9 ,38:@/>9,8049800?492>:=.:88@94.,?4:9>:=?:;=:A4/0
       80,94921@7>0=A4.0>-0D:9/-,>4.=010==,7>?:#%10,=492702,7=0;=48,9/1=:8
       ?30'94A0=>4?D,9/?3010/0=,72:A0=9809?
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     %?,11B0=04880/4,?07D,1=,4/?::=2,94E0>;0,6;@-74.7D3:7/800?492>B4?3
       48;,.?0/>?@/09?>:=8,60,9D:9?30=0.:=/>?,?0809?>:9.0,2,494910,=:1
       702,7:=;=:10>>4:9,7=0;=48,9/-D?30'94A0=>4?D:=?3010/0=,72:A0=9809?&30
       B4/0>;=0,/10,=,9/@9B47749290>>?:,.?=0170.?0/?302=,A4?D:1?30=0;=0>>4:9
       B4?90>>0/,?:7@8-4,'94A0=>4?D/@=492?30;,>? 8:9?3>,9/@9/0=?30&=@8;
       /8494>?=,?4:9
     
     %4847,=?:?30>?,111,.@7?DB0=0?0==4140/?:>;0,6:@?10,=4924?B:@7/8,60?308
       ?,=20?> :1 ?30 &=@8; /8494>?=,?4:9H0>;0.4,77D ?3:>0 :9 A4>,> := ?08;:=,=D
       48842=,?4:9 >?,?@>0> A09 ,8:92 '% .4?4E09> ?30 A,>? 8,5:=4?D 0C;0=409.0/ ,
       .34774920110.?:9?304=4=>?809/809?=423?> ,9DB0=0?::,1=,4/?:;@-74.7D

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      ,/A:.,?01:=?304=>?@/09?>:=,//=0>>?30=0;=0>>4:9?30DB0=0B4?90>>492
    %?@/09?>,.@7?D,9/%?,11-02,9>006492=01@2007>0B30=0,;;7D492?:;=:2=,8>
       5:->,9/;:>4?4:9>,?:?30=@94A0=>4?40>>:800A09:@?>4/0:1?30'94?0/%?,?0>
    %4847,= ?: >?@/09?> ,9/ >?,11 1,.@7?D ,7>: B0=0 04?30= 30>4?,9? ,-:@? := >?:;;0/
       49?0=9,?4:9,7?=,A07.:910=09.0>;,907>;@-74>349249?0=A40B>=0>0,=.3,9/>::9

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        6291$336026?20A<?<3#2D,<?8
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        .0696AF.92/*(!!$0A6;46?20A<?               
        )'::64?.A6<;.;1B@A<:@;3<?02:2;A
          ?6@A6#$"6;52?<33606.90.=.06AF.@
        '20?2A.?F<3A52);6A21'A.A2@2=.?A:2;A<3
        <:29.;1'20B?6AF".?0<&)$6;56@
        <33606.90.=.06AF.@'20?2A.?F<3'A.A2.;1%.:29.
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)'H  A5.AA523<99<D6;46@A?B2.;10<??20AA<A52/2@A<3:F8;<D92142

     "F;.:26@                            .:.)'06A6G2;0B??2;A9F?2@616;46;
       @A<?6.#2D,<?8D.@.4?.1B.A2@AB12;A.A<9B:/6.);6C2?@6AF@'05<<9<3
       ;A2?;.A6<;.9.;1%B/96033.6?@.9@<8;<D;.@'%                                 
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     '%6@.=?<32@@6<;.9@05<<9<349</.9=B/960=<960F.;16;A2?;.A6<;.9.33.6?@
       D52?2.==?<E6:.A29F A< =2?02;A<3@AB12;A@5<916;A2?;.A6<;.9C6@.@
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     @B/:6AA56@1209.?.A6<;A<2E=9.6;5<D&B/6<=?<C6@6<;5.@;<A<;9F0?2.A2132.?
       .;10<;3B@6<;/BA.9@<0.B@210<;0?2A25.?:A<@AB12;A@.;1=?<32@@6<;.9@9682
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     :2=.?A60B9.?9F6;.@2AA6;49682'%D52?26;A2?;.A6<;.9=2?@=20A6C2@.?202;A?.9
     A<<B?92.?;6;42;C6?<;:2;A
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 '%6@6;A2;121A<=?2=.?23BAB?2=<960F:.82?@16=9<:.A@.;149</.992.12?@
     .;16A@C.9B212=2;1@<;A52<=2;2E05.;42<316C2?@26;A2?;.A6<;.9=2?@=20A6C2@
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 +52;@AB12;A@.?2A<<.3?.61A<@=2.8=.?A60B9.?9FA5<@23?<:?246<;@16?20A9F
     .3320A21/F)'3<?264;=<960FA522;A6?2.0.12:602;C6?<;:2;A@B332?@
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 (52056996;423320A0.B@21/FA52&B/6<=?<C6@6<;5.@B;12?:6;21A52>B.96AF<3
     :F21B0.A6<;/20.B@2@AB12;A@D5<@5<B91/202;A?.9A<A52@216@0B@@6<;@.?2
     @692;06;4A52:@29C2@<BA<332.?
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 @.?2@B9A09.@@?<<:16@0B@@6<;@0.:=B@2C2;A@.;1=22?2;4.42:2;A5.C2.99
     /20<:2:<?20<;@A?.6;2196:6A6;4:F./696AFA<92.?;3?<:A52C2?FC<602@'%
     D.@/B69AA<292C.A2
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 $;2<3A52092.?2@A2E.:=92@<3A56@D.@<B?0<5<?A+5.A@==05.A6;D5605
     @AB12;A@B@21A<@5.?22C2;A6;C6A.A6<;@.;116@0B@@6;A2?;.A6<;.9=<960F6@@B2@
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   3A2?".5:<B1@12A2;A6<;@2C2?.96;A2?;.A6<;.9@AB12;A@2E=?2@@2132.?A5.A2C2;
     ?246@A2?6;43<?.%.92@A6;2?29.A212C2;A<?2E=?2@@6;4.;<=6;6<;6;A5205.A0<B91
     /26;A2?=?2A21.@A5?2.A2;6;4<?4?<B;1@3<?@B?C2699.;02
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   '<:2@A<==21=.?A606=.A6;4.9A<42A52?/20.B@2A52FD2?2B;@B?2D5.AD.@@.32
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   ;A2?;.A6<;.9@AB12;A@.9@<?.6@210<;02?;@./<BAA52C2?F2E6@A2;02<3A52@AB12;A
     4?<B=<?4.;6G2D6A5D56053<0B@2@<;%.92@A6;2@.F6;4A52F32.?21/26;4
     .@@<06.A21D6A56A'2C2?.9=2<=92@.61A5.AA524?<B=@C6@6/696AF.;1<BAD.?1
     @=22056;@B==<?A<3".5:<B1:645A=BA.A.?42A<;A526?/.08@.;1@B442@A21D2
     5<9132D2?2C2;A@<?@=2.8./<BA".5:<B192@@A<.C<61.;A.4<;6G6;4A52
     .1:6;6@A?.A6<;
     
   $;2.9.?:6;46;0612;A6;C<9C21'%'<B?@AB12;A4<C2?;:2;A
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     .08;<D92146;4@AB12;A0<;02?;@./<BA.;16;A2?;.A6<;.9@AB12;A@
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    '52A<9152?09.@@:.A2@@5232.?21/26;4A.?42A21/FA52(?B:=.1:6;6@A?.A6<;.;1
       A5.A2C2;.:<12@A@5<D<3@<961.?6AF0<B912;1.;42?52?6::64?.A6<;@A.AB@
       
    (52@2D2?2;<AA52<?2A60.932.?@



                  99@52D.@A?F6;4A<1<D.@.C<61@0?BA6;F?6@8.;1@=<A9645A.;1A52
       C2?F.0A<312@0?6/6;452?233<?A@A<@A.F@.32:.F;<DC6<9.A2A5.A6;A2;A(5.A6@
       A526?<;F<3A56@:<:2;A
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    $;2<3<B?09.@@:.A2@D.@/<?;.;1?.6@216;         .;15<91@. C6@.'52A<91
       B@@5232.?21A5.A52?:2?2=?2@2;026;A52);6A21'A.A2@0<B91/2:6@6;A2?=?2A21
       .;1B@21.4.6;@A52?
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    '52D.@52?2A<@AB1F=B/960=<960F.;16;A2?;.A6<;.9.33.6?@F2A2C2;@=2.86;46;
       09.@@329A1.;42?<B@A<52?
       
     '52D.@?.?29F.9<;26;A521.F@.;1D228@.3A2?".5:<B1@.??2@A+205208216;
       <;52??24B9.?9F.;1.@82152?A<@6A<BA<3=?<A2@A@.;12C2;A@2C2;A5<B45@52
       D.;A21A<.AA2;1
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       D232.?213<?52?@.32AFB;12?A56@/?<.1.;1B;=?2160A./929.D
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       ?2@06;16;4A52<332?
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    5.1.9?2.1F0<:=92A21A52<;/<.?16;4@A2=@.;1?2026C21D290<:22:.69@3?<:
       A52A2.:
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    /2962C2A56@1206@6<;D.@;<A/.@21<;=2?3<?:.;02<?0<::B;60.A6<;/BA?.A52?
       6;39B2;021/F:F%.92@A6;6.;612;A6AF:F.33696.A6<;D6A5@AB12;A<?4.;6G6;4.;1
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    (524<C2?;:2;AI@A.?42A6;4<3".5:<B15.@0?2.A21.;.A:<@=52?2D52?2
       0<;@A6ABA6<;.99F=?<A20A21@=2205.;1.@@<06.A6<;2@=206.99FD52;0<;;20A21A<
       %.92@A6;2.?2A?2.A21.@=<A2;A6.9A5?2.A@/2962C2A56@2;C6?<;:2;A2:/<912;21
       :F2:=9<F2?A<C62D:2.@.96./696AF92.16;4A<A52@B112;?2@06@@6<;<3:F<332?
       D6A5;<C.9617B@A6360.A6<;
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       7</=?<@=20A@.;1:F3.:69F
       
     "F:<A52?6@. F2.?<91;<;06A6G2;.;1:F3.A52?6@.F2.?<9116@./921
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     (52F<3A2;A?.C29A<42A52?.;1D.@.3?.61A5.A:FC6@6/696AF:645A0?2.A2
       0<:=960.A6<;@3<?A52:.AA52.6?=<?A.@821A52:;<AA<A?.C29A<A52);6A21
       'A.A2@<?0<:2C6@6A:23<?:FB=0<:6;4".F4?.1B.A6<;12@=6A25<D2E06A21
       D.@A<@22A52:
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       D6A5:26;@A2.1<3:F#2D,<?8'A.A2
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       12@=6A2/26;4.06A6G2;
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     (52@2:<:2;A0?F@A.996G21D5.AA56@9.D5.@1<;2A<<B?@2;@2<3@.32AF.;1
       06A6G2;@56=
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    ;!<B6@6.;.D.@5<@A21/F:2:/2?@<3A52%.92@A6;6.;0<::B;6AFD5<
       @B==<?A21:2/BAD2?2A2??63621A</2@22;2;A2?6;4A52=?6@<;3.0696AF
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    $;22912?9F:.;D5<1?<C2:2@.61,<B/2962C26;A56@3?221<:<3@=2205@AB33
       (56@6@3<?A52:;<A3<?=2<=929682B@
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    '<:20<::B;6AF:2:/2?@?23B@21A<2C2;@=2.8D6A5:2.A.99/20.B@2A52FD2?2
       .996::64?.;A@.;132.?21?2A.96.A6<;
       
    D.@/<?;.;1?.6@216;'.B16?./6.0.:2A<A52);6A21'A.A2@6;=.?A/20.B@2
       /2962C216;A56@0<B;A?F@0<::6A:2;AA<3?221<:<3@=2205.;112:<0?.A60

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    (56@2E=2?62;025.@=?<3<B;19F@5.82;A5.A/29623.;1:.12:2>B2@A6<;D52A52?
       A?B9F/29<;46;A56@0<B;A?F
       
     3".5:<B10.;/212=<?A21B;12?A56@9.DA524<C2?;:2;A6@@2;16;4.:2@@.42
       A5.A:2?60.;@9682:2.?2;<AA?B9FD290<:252?2
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1209.?2B;12?=2;.9AF<3=2?7B?FA5.AA523<?24<6;46@A?B2.;10<??20A

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         .3003-?6> ./-3=398 >9 =>/: .9A8 0<97 + :9=3>398 90 6/+./<=23: 38 + =>?./8>
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       ?83@/<=3>C630/0>/<038.3819?>A2+>2+::/8/.>9+279?.+0<3/8.90738/2+.
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       +>>/8.381-6+==/=9<6/+@381>2/3<297/&2/C0/+</.A+6538198-+7:?=A3>2>2/
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March 12, 2025

We, Jewish alumni of Columbia University across a spectrum of political views, schools, and
years of graduation, join together to unequivocally denounce the illegal detention of green-card
holder and recent Columbia School of International and Public Affairs (SIPA) graduate
Mahmoud Khalil by agents of the U.S. Immigration and Customs Enforcement (ICE) merely for
exercising his constitutionally-protected rights to free expression.

The Trump administration cynically exploits Jewish feelings of vulnerability and fear to justify
its egregious assault on higher education and academic freedom, including on our alma mater.
The Republican assault upon the First Amendment and principles of free expression and inquiry
which underpin American universities do not make Jews safe. It endangers all of us.

We speak out now to denounce the Trump Administration’s assault on higher education, science
and the rule of law—and its cruel efforts to divide the Jewish community from our neighbors,
colleagues and classmates. We say now, clearly and unequivocally, as Jewish graduates of
Columbia, that the Trump Administration’s brazen assault on our democracy, including on
freedoms protected by the Constitution harms the Jewish community, our neighbors and our
loved ones.

We therefore reject in absolute terms the Trump Administration’s attempt to characterize its
conduct as an act taken in our interests—the interests of our Jewish communities. Seizing,
detaining, and threatening with deportation a member of Columbia’s broader community for the
act of peaceful protest of the acts of a foreign government and of U.S. foreign policy constitutes
an assault upon the fabric of our democracy—a democratic society where American Jews have
found refuge from absolutist and authoritarian regimes they fled. We refuse to be used to
dismantle American democracy, and we accuse the Trump Administration for its cynical
exploitation of our people’s aspirations for safety and inclusion for its own purposes as itself an
act of anti-Semitism.

The Trump administration's actions, first and foremost, endanger Mahmoud Khalil and his
family. We hope that they are reunited safely and soon. But these dangerous and unconstitutional
acts threaten the foundations of democratic life and free expression which lies at the heart of it.

Signed,
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Name                  School                                 Class
Aaron Gans            Medical School                         2022
Abby H Lublin         Columbia College                       1998
Abby Kamen            Social Work                            2021
Abby Shuster          GS, Jewish Theological Seminary        2014
Abby White            Columbia College or Barnard            2019
Abraham Greene        Columbia College or Barnard            1999
Adam Conner-Sax       Columbia College or Barnard
                      GS, Jewish Theological Seminary,
Adam Jacobs                                                  2001, 2006
                      Teachers College
Adam S. Levine        Arts and Sciences (Graduate)           2010
Albert Kohn           GS, Jewish Theological Seminary        2018
Alena Graedon         School of the Arts                     2007
Alex Fendrich         Columbia College or Barnard            2017
Alexander K Ames      Columbia College or Barnard            1999
Alisa Baer            Columbia College                       2002
Alisa Gross Parker    Columbia College or Barnard            2007
Alison (Keimowitz)    Department of Earth and
                                                             2006 (PhD)
Spodek                Environmental Sciences
Aliza Lifshitz        Columbia College or Barnard            2020
Amanda Gersh          School of the Arts                     1997
Amara Jaeger          Columbia College or Barnard            2020
Amy Phillips          Columbia College or Barnard            2003
Andrea Floersheimer   Columbia College                       2019
Andrew Irving         Columbia Law School                    1976
Anna Jesseman         School of Social Work                  2011
Anna Kalm             Columbia College or Barnard            2019
                      Columbia College or Barnard,
Anne Levy                                                    2001, 2016
                      Teachers College
Anya Bernstein        Columbia College or Barnard            1996
Arinn Amer            Columbia College or Barnard            2011
Austen Leah Rose      Arts and Sciences (Graduate)           2013
Avi Allison           Columbia College or Barnard            2011
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Name                  School                                   Class
Avi Alpert            Columbia College or Barnard              2006
Avi Hoffman           Engineering and Applied Science          2009
Avidan Halivni        Columbia College or Barnard              2019
Avinoam Joseph
                      Columbia College                         2017
Stillman
Avner Gvaryahu        Arts and Sciences (Graduate)
B. Levitt             GS                                       2010
Becca Stussman        Engineering and Applied Science          206
Ben Feder             Columbia College or Barnard              1986
                      School of International and Public
Beth Zikronah Rosen                                            2010
                      Affairs
Carl Biers            Columbia College                         1990

Carlyn Kolker         Columbia College                         1998
Chase Henry
                      Columbia Law School                      2015
Mechanick
Claire (Chaim)
                      Columbia College or Barnard              2019
Spaulding
Corinne Greenblatt    Columbia College or Barnard College      2020
Daniela Lapidous      Columbia College or Barnard              2016
David Klion                                                    2006
David N. Myers        Arts and Sciences (Graduate)             1991
David Schlitt         Columbia College or Barnard              2004
Debbie Wecksell       Columbia College or Barnard              2014
Deborah Appel         GS                                       2006
Dina Blanc            Barnard College                          1983
Dr. Jennifer A Lupu   Columbia College or Barnard              2012
Edo Roth              Engineering and Applied Science          2017
Elena Ross            School of Social Work                    2023
Eleni Malka Zimiles   Social Work                              2014
Eli Pinker            Columbia College or Barnard              2021
Eliana Fishman                                                 2018
Emma Kessler          GSAS                                     2012
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Name                  School                                Class
Emma Sarachan         Columbia College or Barnard           2015
Eric Alterman         Columbia College or Barnard College   1984
Eric Schuman          School of the Arts                    2012
Frances Miriam
                      Columbia College or Barnard           2006
Kreimer
Fred Block            Columbia College or Barnard           1968
Gabe Pont             GS, Jewish Theological Seminary       2020
Gabriella Spitzer     Columbia College or Barnard           2013
Gary A. Cohen         Columbia Law School                   1986
Gavi Strauss          GS, Jewish Theological Seminary       2019
                      Columbia College or Barnard,
Hali Weiss            Architecture, Planning, &             1984, 1987
                      Preservation (Graduate)
Hannah Christianson   Columbia College or Barnard           2022
Hannah Rose
                      Columbia College or Barnard           2016
Gorman
Hannah Selinger       Columbia College or Barnard           2002
Harry Reis            Columbia Law School                   2024
Hollis Architzel      Columbia College or Barnard           2005
Ira Temple            Columbia College or Barnard           2007
Isaac Brooks
                      Columbia Law School                   2018
Fishman
                      Barnard College, Columbia School of
Isabel Nelson                                               2016, 2021
                      Public Health
Isadora Nogueira      Columbia College or Barnard           2020
Jacqueline Karp       Barnard College, JTS                  2017
James Rutherford      School of the Arts                    2011
Jamie Klein           Columbia College or Barnard           2011
                      Columbia College or Barnard,
Jan de Bakker                                               2003, 2005
                      Engineering and Applied Science
Jeff Alexander        Columbia Law School                   2008
Jen Rice              Columbia College or Barnard           2008
                      Columbia College or Barnard, Social
Jenn Wyse                                                   2014, 2007
                      Work
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Name                  School                                   Class

Jenna Barzelay        SIPA                                     2015

Jenna Zucker          Barnard College                          2021
Jennifer Gottlieb     Columbia College or Barnard              1993
Jennifer Rosenstein   Teachers College                         2002
Jenny Dubnau          Columbia College or Barnard              1985
Jenny Labendz         Columbia College or Barnard              2002
                      Columbia College or Barnard,
Jessica Becker                                                 2010, 2014
                      Business School
Jessica Ullian        Barnard College, Journalism              2002
Julie Abbruscato      Columbia College or Barnard              1986
Julie Keefe           Columbia College or Barnard              2005
Juliet Herzberg       Social Work                              2013
Justin Singer         Business School, Columbia Law
                                                               2009
(JD/MBA '09)          School
Kalila Jaeger         Columbia College or Barnard              2017
Kalman Victor         Columbia College or Barnard College      2016
Karen Abrams          Teachers College                         2001, 2009
Karl Klare            Columbia College or Barnard              1967
Kate Axelrod          School of Social Work                    2013
Kate
                      Columbia College or Barnard              2012
Steiker-Ginzberg
Katherine Herman      Columbia College or Barnard              2005
Kayla Ablin           Columbia College or Barnard
Kyle Lukoff           Columbia College or Barnard              2006
                      Columbia College or Barnard,
Kyra Bloom                                                     2015, 2022
                      Teachers College
L. Berger             Social Work                              2012
Laura Pisoni          Columbia College or Barnard              2006
                      School of International and Public
Laura Shmishkiss                                               2003
                      Affairs
                      School of International and Public
Laura Wernick                                                  1998
                      Affairs, Social Work
Lauren Deitz          Arts and Sciences (Graduate)             2023
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Name                School                                   Class

Lauren Kesner       SIPA                                     2008
O’Brien
Leah
                    Public Health                            2012
Bellow-Handelman
Lee Pinkas          Teachers College                         2006
Leeza Gavronsky     Columbia College or Barnard              2017
Lena Rudnick        School of the Arts                       2014
Leo Goldberg        Columbia College or Barnard
Linda Slodki        Banard, Arts and Sciences (Graduate)     1972
Lisa Namdar
                    School of the Arts
Kaufman
                    Department of English and
Louise Yelin                                                 1977 (PhD)
                    Comparative Literature
Maddie Molot        Columbia College or Barnard              2018
Madelyn Baker       Columbia College or Barnard              2019
Mara D. Kravitz     GS                                       2013
Matthew Weisberg    Public Health                            2022
                    General Studies, Jewish Theological
Max Cohen                                                    2007
                    Seminary
Max David Finkel    GS/JTS                                   2016
Maya Porath                                                  2014
Megan Millenky      Columbia College or Barnard              2001
Melanie Pflaum      Teachers College                         1995
                    School of International and Public
Micah Nelson                                                 2024
                    Affairs
Michael
                    Columbia Law School                      2020
Altman-Lupu
Michal Richardson   Columbia College or Barnard              2006
Michelle Caswell,
                    Columbia College or Barnard              1997
CC’97
Michelle Kamens     School of Social Work                    2004
Miriam Krent
M.S.ed, M.S.        Teachers College                         2017
CCC-SLP
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Name                  School                                   Class
Mollie Krent          Columbia College or Barnard              2015
Molly Chilingerian    Teachers College
Naeta Rohr            Teachers College                         2014
Naida Tushnet         Arts and Sciences (Graduate)             1962 (MA)
Naomi Sharlin         Teachers College                         2011
Naomi Shatz           Columbia College or Barnard              2004
Naomi Sobel           Arts and Sciences (Graduate)             2009
Nathan Levine         Columbia College or Barnard              2017
Nina Paroff           Public Health                            2017
Noa Appleton          Public Health                            2016
Noa Kattler Kupetz    Columbia College or Barnard              2018
Noa Myers             Columbia College or Barnard
                      School of International and Public
Noa Tann                                                       2023
                      Affairs
Noa Urbach                                                     2025
Noah Schoen           Columbia College                         2016
Noam A
                      GS, Jewish Theological Seminary          2021
Lindenbaum
Nora Rodriguez        Columbia College or Barnard              2011
Orli M                                                         2015
Orli M                GS, Jewish Theological Seminary          2015
Phoebe Spanier        Columbia College or Barnard
Pippi Kessler         Teachers College                         2017
Rabbi Aaron
                      GS, Jewish Theological Seminary          2009
Rotenberg
Rabbi Allen Lipson    GS, Jewish Theological Seminary          2015
Rabbi Aryeh
                      GS, Jewish Theological Seminary          1998
Bernstein
Rabbi David Jaffe     Social Work                              1994
Rabbi Jennie Rosenn   Columbia College or Barnard College      1991
Rabbi Rachel
                      Columbia College                         1997
Goldenberg
Rabbi Rachel          Columbia College or Barnard, Jewish
                                                               2001
Kahn-Troster          Theological Seminary
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Name                School                                   Class
Rabbi Rebecca T.
                    Barnard College                          1971
Alpert
Rabbi Solomon
                    Columbia College or Barnard              2014
Hoffman
Rachel Aviv         School of the Arts                       2009
Rachel Blau         Columbia College or Barnard, Arts
                                                             1963, 1970
DuPlessis           and Sciences (Graduate)
Rachel Mazor        Columbia College                         1998
Rachel Mewes        Teachers College                         2020
Rachel Rosenbloom   Columbia College or Barnard              1990
Rachel Tsuna        Columbia College or Barnard              2018
Rae Abileah,
                    Columbia College or Barnard              2004
Kohenet
Raye Farber                                                  2011
Rebecca Grabiner    Social Work                              2003
Rebecca Green       Teachers College                         2014
                    School of International and Public
Rebecca Rosen                                                2020
                    Affairs
Rebecca Schiff      School of the Arts                       2009
Rebecca Subar       Barnard                                  1981
Rebekah Dempsey     Columbia College or Barnard              2017
Rebekeh Packer      Columbia College or Barnard              2017
Robert Newton                                                2001
Robyn Uri           Columbia College or Barnard              2011
Romi Messer         Columbia College or Barnard              2016
Samuel Gross        Columbia College or Barnard              1968
Samuel Norich       Columbia College or Barnard              1968
Samuel Reider       Columbia College or Barnard              2011
Samuel Sontag       Columbia Law School                      2024
Sarah B. Johnson    Social Work                              2014
                    School of International and Public
Sarah Chandler                                               2005, 2008
                    Affairs, Jewish Theological Seminary
Sarah Deutsch       Columbia College or Barnard              2011
Case 2:25-cv-01963-MEF-MAH            Document 284-8         Filed 06/05/25   Page 47 of 65
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Name                    School                                   Class
Sarah Dorman Sveen      School of the Arts                       2014
Sarah Katz              Columbia College or Barnard              1997
Sarah Leonard           Columbia College or Barnard              Yes
                        Architecture, Planning, &
Sarah Rosenblatt                                                 2012
                        Preservation (Graduate)
Sarah Saadoun           Columbia Law School                      2014
Sarah Stone             GS, SIPA                                 2016, 2019
Sarah Weinstein         Columbia College or Barnard              2016
Senator Julia Salazar   Columbia College or Barnard              2014
Shachar
                        GS                                       2019
Cohen-Hodos
Shahar Colt             Columbia College or Barnard              2006
Shana Leshko            Columbia College or Barnard              2017
Shana Parker            Columbia College or Barnard              2004
Shara Morris            Columbia College or Barnard              2011
                        School of International and Public
Shari Turitz                                                     1995
                        Affairs
Shira Botzum            GS, Jewish Theological Seminary          2019
Shira Danan             Columbia College or Barnard              2007
Shoshana Levy           Columbia College or Barnard              2018
Shoshana Williams       Barnard College                          2020
Sofia Rubenstein        Social Work                              2017
Sophie
                        Columbia College or Barnard              2014
Ellman-Golan
                        Arts and Sciences (Graduate), School
Sophie Finkelstein                                               2016
                        of the Arts
Stephanie Krent         Columbia College or Barnard              2011
Steve Quester           Columbia College or Barnard              1985
                        Columbia College or Barnard,
Steve Weinberg          Architecture, Planning, &                1966, 1968
                        Preservation (Graduate)
Suzanne Blanc           Columbia College or Barnard              1974
Suzanne Herman          Columbia College or Barnard              2015
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Name                School                                Class
                    Columbia College or Barnard, Jewish
Sylvie Rosen                                              2019
                    Theological Seminary
Tali Myers          Columbia College or Barnard           2014
Talya Wintman       Columbia College or Barnard           2020
                    Columbia College or Barnard, Public
Tess Solomon                                              2015, 2019
                    Health
                                                          1978, 2010 (Honorary
Tony Kushner        Columbia College or Barnard
                                                          Doctorate of Letters)
Valerie Schenkman   School of the Arts                    2010
Vanessa Thill       Columbia College or Barnard College   2013
Wesley (Yehudah)
                    GS, Jewish Theological Seminary
Webster
Yaffa Fogel         Columbia College or Barnard           2017
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=1*==1./8558@2702<=;>.*7-,8;;.,==8=1.+.<=8/6B478@5.-0.
 B 7*6. 2<              *7-  *6 * .@2<1 *5>67>< 8/ 85>6+2* &72?.;<2=B 
    0;*->*=.-;.,.7=5B*7-;.6*27*,=2?.5B27?85?.-27=1.85>6+2*,866>72=B
     *5870@2=168;.=1*7 8=1.;.@2<185>6+2*&72?.;<2=B*5>672<207.-*5.==.;
       <.. *==*,1.- .A12+2= .A9;.<<270 8>; >7.:>2?8,*5 ,87-.67*=287 8/ Mahmoud’s
       Khalil’s -.=.7=287 +B &$ 6620;*=287< *7- ><=86< 7/8;,.6.7=   *6
       9*;=2,>5*;5B -2<0><=.- *7- 18;;2/2.- +B =1. /.-.;*5 government’s ,889=*=287 *7-
       *+><. 8/ .@2<1 2-.7=2=B =8 3><=2/B =1. @;870/>5 -.=.7=287 8/ * /.558@ 85>6+2*


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      0;*->*=. 24. 6*7B .@2<1 6.;2,*7< 6B /*625B ,*6. =8 =12< ,8>7=;B /5..270
      ;.52028><9.;<.,>=287*7-<.?.;*56.6+.;<8/6B/*625B@18<=*B.-+.127-@.;.
      4255.-->;270=1.858,*><=8+3.,=27=1.<=;870.<=98<<2+5.<.7<.=8=1.78=287
      =1*==1./.-.;*5government’s=*;0.=2708/27-2?2->*5<524.*168>-/8;-.=.7=287
      *7--.98;=*=287+*<.-87=1.2;9852=2,*5+.52./<*7-,87<=2=>=287*55B9;8=.,=.-/;..
      <9..,1 @255 .7<>;. =1. <*/.=B 8/ .@2<1 6.6+.;< 8/ =1. 85>6+2* &72?.;<2=B
      ,866>72=B8;.@2<16.;2,*7<*=5*;0.!7=1.,87=;*;BMahmoud’s-.=.7=2872<
      * ?285*=287 8/ 6*7B 8/ =1. .<<.7=2*5 /;..-86< =1*= .7<>;. =1. <*/.=B 8/ .@2<1
      6.;2,*7</;86=1..A*,=<*6.427-<8/9.;<.,>=2878>;/*6252.<1*?./*,.-27=1.
      9*<=
     7=1.687=1<<27,.*168>-@*<-.=*27.-<.?.;*527=.;7*=287*5<=>-.7=<*==.7-270
       85>6+2* &72?.;<2=B 1*?. .A9;.<<.- =8 6. =1.2; /.*;< =1*= @1*= 1*99.7.- =8
       *168>-6201=1*99.7=8=1.6$86.8/=1.6-.5.=.-=1.2;<8,2*56.-2**,,8>7=<
       *?82-.-*==.7-270,5*<<279.;<878;<=899.-5.*?270=1.18><.*5=80.=1.;8>=8/
       /.*;+8>=*@..4*/=.;*168>-@*<-.=*27.-8//.;.-=8.<,8;=*727=.;7*=287*5
       <=>-.7==8=1.0;8,.;B<=8;.<8=1.B,8>5-+>B/88-%1.<=>-.7=,87/2-.-=1*==1.B
       1*-78=5./==1.2;*9*;=6.7=27*@..48>=8//.*;
     "*5.<=272*785>6+2*<=>-.7=<@18*;.&$,2=2C.7<1*?.*5<8.A9;.<<.-=86.=1.2;
       /.*;8/+.270=*;0.=.-+B=1./.-.;*508?.;76.7=27*<2625*;/*<1287=8*168>-
       "*5.<=272*7<=>-.7=<1*?.=85-6.=1.B*;.*/;*2-=827=.;/*,.-2;.,=5B@2=16.6+.;<
       8/ &72?.;<2=B 5.*-.;<129 27,5>-270 =1. 85>6+2* &72?.;<2=B ";.<2-.7= 5*2;.
       $1296*7+.,*><.=1.B478@*168>-@*<=*;0.=.-->.=812<;85.*<*7.08=2*=8;
       @2=1=1.85>6+2**-6272<=;*=287<*;.<>5==1.<.<=>-.7=<1*?.+..79;.?.7=.-
       /;86*-?8,*=270/8;=1.6<.5?.<*7-=1.2;7..-<*<"*5.<=272*7<=>-.7=<->;270=12<
       =26.->.=8/.*;
     %1. ,1255270 .//.,= 8/ Mahmoud’s -.=.7=287 87 6.6+.;< 8/ =1. 85>6+2*
       ,866>72=B1*<78=+..75262=.-=827=.;7*=287*5*7-"*5.<=272*7<=>-.7=<5=18>01
       *6*&$,2=2C.7*7-785870.;*85>6+2*<=>-.7==881*?./.5=*/;*2-=8<9.*4
       8>=*0*27<=Mahmoud’s-.=.7=287*7-9*;=2,29*=.279.*,./>59;8=.<=<*<*6.6+.;
       8/ =1. 85>6+2* ,866>72=B 8>= 8/ /.*; =1*= *7B -2<<.7= *0*27<= =1. /.-.;*5
       08?.;76.7= +B 85>6+2* <=>-.7=< /*,>5=B <=*// 8; *5>672 ,8>5- =;200.; =1.
       -.=.7=287 8/ 68;. 85>6+2* <=>-.7=< +B  27 ;.=;2+>=287 7 =1. @..4 */=.;
       Mahmoud’s -.=.7=287 =1.;. @.;. @2-.<9;.*- ;>68;< *6870 6.6+.;< 8/ =1.
       85>6+2* ,866>72=B =1*= =1. /.-.;*5 08?.;76.7= @8>5- ;.<987- =8 *7B *,= 8/
       9.*,./>59;8=.<=*=85>6+2*@2=1*;*2-8/,*69><+B*7-6*<<-.=.7=287<8/
       787,2=2C.7<=>-.7=<<*;.<>5=6*7B85>6+2*<=>-.7=<,18<.78==8<9.*48>=
       9>+52,5B *0*27<= =1. -.=.7=287 8/ *168>- 8; =1. -.6*7-< 8/ =1. /.-.;*5
       08?.;76.7=2698<.->98785>6+2*&72?.;<2=B*==1*==26.8>=8//.*;=1*==1.2;


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        *,=287<,8>5-,*><.=1.2;/;2.7-<*7-9..;<=8+.-.=*27.-*7--.98;=.-
     $27,.*168>-@*<-.=*27.-1*?./.5=9;8/8>7-5B@8;;2.-/8;6B/;2.7-<*7-
       ,866>72=B8;*=5.*<=*@..4*/=.;Mahmoud’s-.=.7=287;.0>5*;5B;./><.-=8
       08=8<5..9>7=25=1..*;5B18>;<8/=1.68;7270+.,*><.@*<*/;*2-=1*=@8>5-
       @*4.>9=8=1.7.@<=1*=*78=1.;87.8/6B/;2.7-<8;,866>72=B6.6+.;<1*-
       +..7-.=*27.-+B->;270=1.7201=
 ==*,1.- 1.;.=8 *= =1. .A12+2=< 52<=.- +.58@ *;. =;>. *7- ,8;;.,= ,892.< 8/ =1.
    /8558@2706*=.;2*5<
          ==*,1.-*<*5.==.;-;*/=.-*7-<207.-+B.@2<185>6+2**5>672
             -.78>7,270=1.-.=.7=2878/*168>-1*525
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    *=.->7.                                $207.-
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          -49;A0

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        B                                                      
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        9953>-@5;:-:0A?@;9?:2;>/191:@
        *;8-:0-#&& !5:41>;225/5-8/-<-/5@E-?
        )->01:;285F-.1@4;:@>-/@1@1:@5;:                  
        -/585@E-81.(&"/@5:35>1/@;>
        '%9953>-@5;:-:0A?@;9?:2;>/191:@
        >5?@5!" 5:41>;225/5-8/-<-/5@E-?
        %1/>1@->E;2@41':5@10%@-@1?1<->@91:@;2
        ;918-:0%1/A>5@E ->/;$'"5:45?
        ;225/5-8/-<-/5@E-?%1/>1@->E;2%@-@1-:0#-918-
        "!5:41>;225/5-8/-<-/5@E-?@@;>:1E
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     @4-@@412;88;C5:35?@>A1-:0/;>>1/@@;@41.1?@;29E7:;C81031

            E :-91 5?                    -:0  -9


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      C-? - ?@A01:@ ;>3-:5F1> -:0 - 919.1> ;2 - ?@A01:@ ;>3-:5F-@5;: 2;/A?10 ;:
       10A/-@5:3@41/;99A:5@E;:#-81?@5:1
     ;>@41%#?@A01:@/;99A:5@E;2C45/4@419-6;>5@E->15:@1>:-@5;:-8?@A01:@?
         -49;A0K??A001:-.0A/@5;:4-?4-0@-:35.81-:05>>1B;/-.81/;:?1=A1:/1?-:0
       4-?0>-?@5/-88E59<-/@100-58E8521
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         -49;A0K? -.0A/@5;: -:0 /;:@5:A10 01@1:@5;: 4-? .11: 1D/1<@5;:-88E 59<-/@2A8
         2;>-/8-??9-@1C4;4-B1;>3-:5F10C5@4<>1B5;A?8EC4;?12-@41>C-?-<;85@5/-8
         <>5?;:1>-.0A/@105:?5958->9-::1>-:0?1B1>18E@;>@A>10.E@415>3;B1>:91:@
         -:0C4;8-@1><-??10-C-E0A1@;41-8@4/;9<85/-@5;:?/-A?10.E@45?@;>@A>1
     &45?2>51:0/-91@;?@A0E5:@41':5@10%@-@1?@;25:0?-21@E-:0>1<>51B12>;9@41
       /;:?@-:@21->;2<;85@5/-859<>5?;:91:@@41E->1-//A?@;910@;*1@@41E4-B12;A:0
       @419?18B1?5:-:-8->95:38E?5958-><;?5@5;:5:?@1-0;2?@-E5:35:@41':5@10%@-@1?
       -2@1> 3>-0A-@5;: -? @41E 4-0 4;<10 @41E ->1 <8-::5:3 @; 599105-@18E 2811 @; -
       /;A:@>EC41>1@41E->1@>A8E?-212>;9@45??;>@;2@->31@5:3-:0B5;81:/1&41E@;80
       91@4-@@45?5?@41?-91?1:@591:@9-:E;2@415>2>51:0?4-B11D<>1??102;88;C5:3
         -49;A0K?-.0A/@5;:

 &45?<1>?;:-8?;C-?A:-.81@;-@@1:0@415>?5.85:3K?C1005:3H@4125>?@<1>?;:5:
    @415>2-958E@;31@9->>510H.1/-A?1@41E21->10.15:301:5101:@>E52@41E812@@41
    /;A:@>E-:0?A.?1=A1:@8E?;A34@>1@A>:C-?C5@4@419@4-@:534@-?@41E4-0@;
    ?@-EA<A:@58 5:@419;>:5:3@;C-@/4;B1>+;;9-?@415>1:@5>12-958E3-@41>10@;
    /181.>-@1@45?9;91:@;A?;//-?5;:&41E1D<>1??10@;91@415>/;:285/@5:321185:3?
    -:03A58@2;>95??5:3@45?9581?@;:15:@415>?5.85:3K?8521/;:@>-?@5:3@415>B1>E>1-8
    21-> ;2 .15:3 01@-5:10 A<;: >1@A>: @; @41 '% .1/-A?1 @41E 4-B1 ;//-?5;:-88E
    1D<>1??10?A<<;>@2;>#-81?@5:5-:8521
    
 :;@41>5:@1>:-@5;:-82>51:0;295:1C4;4-B1;>3-:5F10C5@44-0-@1>95:-88E588
    2-@41>C4;?141-8@4.13-:@;01@1>5;>-@10>-9-@5/-88E5:<>58  &41E4-0@;
    >1@A>:4;91@;.1C5@4@415>2-958E-:0@415>2-@41>5:45?8-?@9;91:@?*1@@41
    9;91:@C-?9->>10-:0.A>01:10.E<8-::5:3->;A:0B5?-/;:/1>:?.E/->>E5:3
    @45?5991:?1@>-310E-8;:3?501@41B1>E>1-8@4>1-@;2.15:3>161/@10;>01@-5:10-@
    @41.;>01>
 &41E@;80914;C@45?-:D51@EC153410;:@419@4>;A34;A@@41@>5<-:05:@415>
    25:-89;91:@?C5@4@415>2-@41>&41E1D<>1??103>512-:02>A?@>-@5;:-@@415>01?5>1
    @;?@-EC5@4@415>2-958E8;:31>-2@1>@415>2-@41>K?01-@4.A@@415>5:-.585@E@;.1/-A?1
    ;25:/>1-?5:3>1<>1??5;:-:0-:D51@E->;A:0@415>B5?-?@-@A?-?-3>-0A-@5:3?@A01:@
 &41E@;80914;C@45?21->-221/@10C4-@@41E?-50C4-@@41E050-:0@41C-E@41E
    1D<>1??10 @419?18B1? <A.85/8E &41E 05?@-:/10 @419?18B1? 2>;9 - ?@A01:@
    ;>3-:5F-@5;:@41E/->1-.;A@011<8E.1/-A?1@41;>3-:5F-@5;:1:3-3105:<;85@5/-8
    -/@5B5@E@41E?/>A..10@415>:?@-3>-9;2-:E<;85@5/-805?/;A>?1-:0@41E?@;<<10
    <;?@5:3-.;A@<;85@5/?/;9<81@18E
    &41E21185?;8-@10-:0A:-.81@;9-71:1C2>51:0?.1/-A?1@41E->1A:?A>1;2C4;
       C588@-71;221:?1@;?;91@45:3@41E?-E-:0>1<;>@@41915@41>@;@41?/4;;8C45/4

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      C;A8081-0@;@415>:-91<;??5.8E.15:34-:010;B1>@;%;>@;@412101>-8
      3;B1>:91:@05>1/@8E&41EC;>>510-.;A@<A.85/01<;>@-@5;:/-9<-53:?H?5958->@;
      @41 /-9<-53: -49;A0 ?A221>10H.15:3 ?@->@10 -3-5:?@ @419 .E .-0 -/@;>?
      >1?A8@5:35:2101>-859953>-@5;:-31:@?7:;/75:3-@@415>0;;>
     &41E ->1 - 2-:@-?@5/ <;85@5/-8 C>5@1> C4; /4;?1 @; ?@;< C>5@5:3 .12;>1 @415> @>5<
       /;:/1>:10 -.;A@ @41 ?/>A@5:E @4-@ /;91? C5@4 <A.85/8E 1:3-35:3 5: @;<5/? 8571
       #-81?@5:1-:0.1E;:0@4-@<;85@5/?-:0/A>>1:@-22-5>?-?-C4;81
     1?<5@14-B5:3>1@A>:10@;@41':5@10%@-@1?@41E4-B1>19-5:10?581:@H21->2A8;2
       61;<->05F5:3 @415> B5?- ?@-@A? -:0 ;2 .15:3 4180 5: 01@1:@5;: 4A:0>10? ;> 1B1:
       @4;A?-:0?;29581?2>;9@415>/;99A:5@E8571 -49;A0
     *1@ -:;@41> 5:@1>:-@5;:-8 2>51:0 ;2 95:1 -:0 2188;C ;>3-:5F1> @;80 91 4;C @41E
       ->>5B10@;@41'%-?-:5:@1>:-@5;:-8?@A01:@2A88;24;<11-31>@;C;>74->0-:0
       C5@4-011<.185125:@45?/;A:@>EK??@>;:38E4180B-8A1;22>11?<11/4-?2;A:0-@5;:-8
       @; ;A> 019;/>-/E *1@ @41E 1D<>1??10 @4-@ @45? .18512 C-? ?4-@@1>10 ;: ->/4 
       A<;: -49;A0K?->>1?@H-:0/;:@5:A1?1>;05:3C5@445?;:3;5:301@1:@5;:&41E
       B;5/10@4-@?;91@45:35:?501@419.>;71C41:@41E?-C459@->31@102;>:;@45:3
       9;>1@4-:1D1>/5?5:3@45?B1>E>534@
     :0 @41E 4-B1 1D<>1??10 @4-@ @45? 21-> 5? :; 8;:31> @41;>1@5/-8 2;88;C5:3 @41
       -::;A:/191:@ @4-@ @41 '% 9.-??E C;A80 <-A?1 ?@A01:@ B5?- -<<85/-@5;:?
       -8;:3?501'%%1/>1@->E;2%@-@1 ->/;$A.5;K?/-882;>9-??>1B;/-@5;:?;245:1?1
       ?@A01:@B5?-?
     &41E@;8091@4-@-2@1> -49;A0K?-.0A/@5;:@41E/;A80:;@1-@@41E/;A80:;@
       ?811<@41E/;A80:;@2;/A?&41EC1>1-095@@10@;@41$0-E?-2@1>45?-.0A/@5;:
       C5@4?@>1??5:0A/10-/50>128AD@4-@9595/71041->@<>;.819?&41E?-50@4-@@41E
       C1>1?;;B1>C418910@41E@4;A34@@41EC1>10E5:3
    &41E@;8091@4-@ -49;A0K?-.0A/@5;:-:0;:3;5:301@1:@5;:2118?8571-@->31@10
       91??-31@;-88'%B5?-4;801>?H-C->:5:3@4-@@41E->1;:8EC18/;9141>1-?8;:3
       -? @41E ?@-E ?581:@ 5? /-?1 @41E ?-50 ?1>B1? - .>;-01> ?53:-8 @; 5:@1>:-@5;:-8
       ?@A01:@?;2C4-@@45?/;A:@>E5?.;@4C5885:3-:0/-<-.81;20;5:3B1:?;91;:1
       C5@42->9;>1813-8<>;@1/@5;:?@4-:@45?2>51:0C-?@-71:C5@4;A@-C->>-:@
    &45?2>51:04-0-:5:@1>:?45<-.>;-0@45??A991>@4-@@41E4-B1:;C4-0@;/-:/18
       .1/-A?1@41E->1@1>>52510;2@41/;:?1=A1:/1?;281-B5:3@41/;A:@>E.;@4.1/-A?1
       @41E->1-'%B5?-4;801>-:0.1/-A?1;2@415>.18512?-:01D<>1??5;:?5:?A<<;>@
       ;2#-81?@5:5-:4A9-:>534@?
    4-B1-2>51:02>;9-@5:91>5/-C4;/;9<81@10@415>A:01>3>-0A-@1013>11-@
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      ;:1;2@41@;< A:5B1>?5@51?5:@41C;>80-:0C4;C-?-//1<@105:@;-0A-8013>11
      3>-0A-@1<>;3>-9-@;8A9.5-2;>@412-88?191?@1>)14-B1?<;71:-@81:3@4-.;A@
      45? 1D/5@191:@ ;2 -@@1:05:3 45? 0>1-9 <>;3>-9 ;2 1D<8;>5:3 45? <-??5;:? 5: -:
      1:B5>;:91:@-?/4-881:35:3-?;8A9.5-;29;B5:3@;!1C*;>7-:0@>-B185:3@;
      @41':5@10%@-@1?2;>@4125>?@@5915:45?1:@5>18521
    :2-/@<->@;2@45?1D/5@191:@?@199102>;9@41.18512@4-@41C;A804-B1-B;5/1
       5:@41/;:B1>?-@5;:;:#-81?@5:1H-B;5/1@4-@C;A80.1>1?<1/@10-:041->035B1:
       ;8A9.5-K?B5?5.585@E-:05@??@A01:@?K5:28A1:/15:?4-<5:3-:-@5;:-805?/;A>?1@4-@
       -225>9?@414A9-:5@E;2#-81?@5:5-:?5:@412-/1;2@415>1>-?A>1@@41?-91@591
       41?@>A33810C5@4@41<>;?<1/@;2.1/;95:3-<-??5B1;.?1>B1>H;2.15:3?50185:10
       2>;9.;@4@41C;>7-:0@41;:3;5:305?/;A>?1;:/-9<A?

    ?<;71C5@4459>1/1:@8E-.;A@45?<8-:?2;>@412-88-:041?4->10@4141->@.>1-7
       ;24-B5:3@;>161/@45?;221>H:;@.1/-A?141C-:@10@;.A@.1/-A?14121->10.15:3
       01@-5:108571 -49;A0&4-@21->?@199102>;945?:-@5;:-85@E45?<;85@5/-8.18512?
       45??A<<;>@2;>#-81?@5:5-:4A9-:>534@?-:0@412-/@@4-@45?<>;3>-9-:045?;C:
       9;>-8/;9<-??C;A80>1=A5>1459@;?<1-7;<1:8E-.;A@-88@41?1@45:3?!;C41
       C;:K@.1-@@1:05:3-:E3>-0A-@1<>;3>-9@45?2-8814-?:K@2;A:0-:-8@1>:-@5B1
       @4-@/;91?/8;?1@;C4-@;8A9.5-;221>?
     &41/A8@A>1;221->-@%#5?>1-89;:3?@A01:@?C4;>1<>1?1:@@412A@A>1;2
       05<8;9-/E 38;.-8 <;85/E9-75:3 01B18;<91:@ -:0 4A9-:5@->5-: -/@5;: @45? 21->
       45:01>?@415>81->:5:3-:01:3-3191:@5:-:0;A@;2@41/8-??>;;9&45?5?:;@;:8E
       .1/-A?1 @41E 21-> >1<>5?-8 2;> 05?/A??5:3 ;:3;5:3 />5?1? -:0 /;:285/@? .A@ -8?;
       .1/-A?1 @41 -@9;?<41>1 ;2 A:/1>@-5:@EH2A1810 .E @41 3;B1>:91:@K? ?1195:38E
       ->.5@>->E-.0A/@5;:?H4-?@-71:-<>;2;A:019;@5;:-8-:091:@-8@;88
     2@1> -49;A0K?-.0A/@5;:;.?1>B10@4-@9E/8-??>;;9?.1/-91:1->8E19<@E
       ?<;71C5@4?@A01:@?C4;C1>1@;;?/->10@;?@-E5:@415>/-9<A?4;A?5:3-:0812@
       @;?@-EC5@42>51:0?;>-/=A-5:@-:/1?;22/-9<A?01?<5@14-B5:3:;@45:3@;0;C5@4
       ;:/-9<A?;>3-:5F5:3&41>1C1>1?@A01:@?-2>-50@;81-B1@415>-<->@91:@?;>1B1:
       >;;9??;91?@A01:@?.13-:-@@1:05:3/8-??;:85:13>1-@8E59<-/@5:3@41=A-85@E;2
       @415>10A/-@5;:
     A>5:3-81@@1>C>5@5:3/-9<-53:@; -49;A0-:045?2-958E9-:E5:@1>:-@5;:-8
       ?@A01:@? 1D<>1??10 @; 91 21-> -@ ?53:5:3 @415> :-91 ;: - 81@@1> @; 459 ;> 1B1:
       ?1:05:3-81@@1>-@-88?/->10@4-@@41EC;A80.1/;91%K:1D@@->31@?2;>
       91>18E?4;C5:3?A<<;>@2;>-.18;B10/8-??9-@1?@;81:2>;9;A>/;99A:5@E%;91
       ;2@4;?181@@1>?-:0@41?53:-@A>1?;:-<1@5@5;:@4-@C1:@-8;:3?501@41/-9<-53:
       C1>1?53:10I>;9-@1>>525105:@1>:-@5;:-8?@A01:@J;>?5958->


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     :081??;<10?C>5@@1:.E;A><11>??91->5:3 -49;A0K?:-91-0010@;@45?81B18
       ;2 21-> .1/-A?1 2;> A? 41 5? @41 ?45:5:3 1D-9<81 ;2 3;;0 -:0 9;>-8 .14-B5;>
         A8@5<815:@1>:-@5;:-8?@A01:@?4-B11D<>1??10@;91@4-@52@45?/;A80.10;:1@;
         -49;A0@41:-:E;:1/;A80.1-.0A/@10-:04-B1@415>:-910>-3310@4>;A34
       @419A0.1/-A?1 -49;A00501B1>E@45:3>534@
     &45?-8?;?<1-7?@;@4181B18;221->-:005?@>A?@?;C10-9;:3?@@41?@A01:@.;0E
       C45/4 -8>1-0E 1D5?@10 -2@1> &>A9< @;;7 ;225/1 .A@ C45/4 C-? 1D<;:1:@5-88E
       -9<852510 -2@1> -49;A0K? -.0A/@5;: %@A01:@? .1/-91 21->2A8 ;2 1-/4 ;@41>
       C;>>510-.;A@C4;C-?85?@1:5:3@;@415>/;:B1>?-@5;:?C4;C-?C-@/45:3C4;C-?
       >1/;>05:3 A8@5<81<1;<817:;C.13-:@;?182/1:?;>@41E.1/-91/->12A8C4;
       @41E1:3-310C5@4;>@41E-B;5010?<1-75:3-.;A@<;85@5/?1:@5>18E@41E?/>A..10
       @415>?;/5-89105-?;>0181@10@419-8@;31@41>21->2A8@4-@-:E;:1;2@41?1@45:3?
       C;A80/-A?1-2188;C?@A01:@@;>1<;>@@419@;15@41>@41':5B1>?5@E-095:5?@>-@5;:
       ;2C45/4@41>15?8;C@>A?@-:03;;0/-A?1@;.1851B1@41E4-B14-:0105:2;>9-@5;:
       @;@412101>-83;B1>:91:@;>05>1/@8E@;%
     -49;A0K?01@1:@5;:4-?4-09-??5B159<85/-@5;:?2;>@41?@A01:@;>3-:5F-@5;:
      -9-<->@;2#>5;>@;45?-.0A/@5;:;A>3>;A<C-?-<;<A8->-:0C188>1?<1/@10
      ;>3-:5F-@5;:-@;A>?/4;;8-:0-/>;??/-9<A?;A>1B1:@?-:0@-87?C1>1-8C-E?C188
      -@@1:010C11:3-310?@A01:@?-/>;??@41<;85@5/-8?<1/@>A9-:005221>5:381B18?;2
      5:@1>1?@-:07:;C81031
    ;C1B1> -2@1> -49;A0K? 750:-<<5:3 ;A> 1:3-3191:@ -:0 -/@5B1 919.1>?45<
       0>;<<10 0>-?@5/-88E #1;<81 .1/-91 @1>>52510 @; 5:@1>-/@ ;> .1/;91 <A.85/8E
       -??;/5-@10C5@4A?)18;?@-.;->0919.1>C4;C-?<-:5/710-@@41501-;28;?5:3
       @415>B5?-2;>91>18E.15:3;:@41.;->0;2@45??@A01:@;>3-:5F-@5;:
    ;->0? ;2 ;@41>?@A01:@ ;>3-:5F-@5;:? -?710 @; C5@40>-C @415> ?<;:?;>?45<2>;9
       ;A>/-9<-53:5:?A<<;>@;2 -49;A0H:;@.1/-A?1@41E050:K@/->1;>?A<<;>@@41
       /-A?1.A@.1/-A?15:@1>:-@5;:-8.;->0919.1>?:;C21->10@4-@<A.85/8E?A<<;>@5:3
       459 ;> -:E /-A?1 /;::1/@10 @; #-81?@5:1 /;A80 61;<->05F1 @415> B5?-?H-:0 .E
       1D@1:?5;:@415>013>11?
    2@1> -49;A0K?-.0A/@5;:@45??@A01:@;>3-:5F-@5;:.1/-91/;9<81@18E;//A<510
       C5@4<>;@1/@5:35@?5:@1>:-@5;:-8?@A01:@?2>;9@41?-912-@1:?@1-0;2;>3-:5F5:3
       10A/-@5;:-8<-:18?;>/;:B1>?-@5;:?5:@1:010@;.A580A:01>?@-:05:3-9;:3?@@41
       05B1>?1<1>?<1/@5B1?@4-@9-71A<@45??@A01:@.;0E;A>2;/A?C-?2;>/10@;?452@
       ;A>@591-:01:1>3EC1>1/;:?A910C5@4;>3-:5F5:35:?A<<;>@;2 -49;A0-:0
       5: <>;B505:3 ?1>B5/1? ?A/4 -? :;C *;A> $534@? @>-5:5:3? @; - @1>>52510 ?@A01:@
       .;0E


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    &41 ;>3-:5F-@5;: 5@?182 C-? /;:?A910 .E 21-> -:0 3>512 /-A?10 .E -49;A0K?
       ?A001: -:0 @>-A9-@5/ 2;>/10 05?-<<1->-:/1 1/-A?1 ;2 @45? :;C B1>E >1-8 -:0
       599105-@1@4>1-@@;@41?-21@E;2;A>-/@5B1919.1>?;A>01/5?5;:9-75:3/4-:310
       C5@4<>;@1/@5:3;A>5:@1>:-@5;:-8?@A01:@?.15:3;A>@;<<>5;>5@E)1?<1:@4;A>?
       05?/A??5:3@4159<85/-@5;:?2;>'%B5?-4;801>?;201/5?5;:?C14-0-8>1-0E9-01H
       ;>;:1?@4-@C1C;A804-B1;@41>C5?1>1-/410/;:?1:?A?;:C5@41-?1B1>E/4;5/1
       C19-01218@C1534@E-:0@;@-85F5:3?A001:8E;A>2>51:0K?9-@1>5-8?-21@E4A:35:
       @41.-8-:/1C5@41B1>E01/5?5;:C19-01

     )1 050 -89;?@ :;@45:3 -2@1> ->/4  1D/1<@ ;>3-:5F1 ->;A:0 -49;A0 25180
       ;A@?501@4>1-@?-:0@>E@;>1?@>A/@A>1?;@4-@;A>BA8:1>-.81919.1>?C1>1?-21)1
       /;A80:;@2A82588@41;>3-:5F-@5;:K?95??5;:@;10A/-@1;A><11>?-.;A@#-81?@5:1-:0
       <>;B501-?-21?<-/1;:/-9<A?2;>?@A01:@?@;1:3-315:;<1:/>5@5/-805?/;A>?1
     ;> 9E?182 -: 91>5/-: /5@5F1: -49;A0K? -.0A/@5;: 011<8E 59<-/@10 9E
       C188.15:3-:09E-.585@E@;;>3-:5F1-:0?<1-72>118E-.;A@#-81?@5:1 E/5>/813;@
       ?9-881>-??-C@4101B-?@-@5:359<-/@;2.15:3@;;;<1:-:0@>A?@5:3B1>E?5:381
       <1>?;:050:;@7:;C.1/-91-<1>?;:/;A80:;@@>A?@.1/-91-<1>?;:C4;
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       .18512?-:0C4;/4;?1;8A9.5-<->@5-88E.1/-A?1;25@?45?@;>E;2251>/1<>;@1/@5;:
       ;2@415>?@91:091:@-:0-/-0195/05?/;A>?1.1/-91-2>-50;2.15:3>1<;>@10
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       ;29E5:@1>:-@5;:-8<11>?
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       C41@41>@41E->141>1813-88E;>C41@41>@413;B1>:91:@5@?1825?-/@5:3813-88E&41E
       ->1?1:05:3<1;<81@;?A<1>9-D<>5?;:?5:8%-8B-0;>2;>4-B5:3@-@@;;?&41E->1
       01@-5:5:3 1:@5>1 2-95851? 5: /;A>@>;;9?H<1;<81 C4; ->1 2;88;C5:3 @41 8-C -:0
       @>E5:3@;?@-E5:@41':5@10%@-@1?813-88E.1851B15@K?;:8E-9-@@1>;2@591.12;>1
       @41E?@->@0;5:3@41?-91@;91>5/-:/5@5F1:?-:0@4-@C1534?;:911B1>E@591
       ?<1-7;A@H;>?@-E?581:@21->31@@5:3-6;.-:0.15:3?@A/741>15:@41':5@10
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       1D<1>51:/109E?182H5?6A?@-?9-883859<?15:@;C4-@5?4-<<1:5:35:/;99A:5@51?
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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


  Mahmoud KHALIL,
               Petitioner,
  v.
                                                          Case No. 25-cv-01963
  Donald J. TRUMP, in his official capacity as
                                                          (MEF-MAH)
  President of the United States; William P.
  JOYCE, in his official capacity as Acting
                                                          DECLARATION OF
  Field Office Director of New York,
  Immigration and Customs Enforcement;
  Yolanda PITTMAN, in her official capacity as
  Warden of Elizabeth Contract Detention
  Facility; Caleb VITELLO, Acting Director,
  U.S. Immigration and Customs Enforcement;
  Kristi NOEM, in her official capacity as
  Secretary of the United States Department of
  Homeland Security; Marco RUBIO, in his
  official capacity as Secretary of State; and
  Pamela BONDI, in her official capacity as
  Attorney General, U.S. Department of
  Justice,

               Respondents.

       I,                  , declare under penalty of perjury, pursuant to 28 U.S.C. §
1746, that the following is true and correct to the best of my knowledge.
   1. I am                 , and I graduated from Columbia University in
with a                    degree. I am Jewish and consider it to be an important part
of my identity. I have family members who live in Israel and whose homes were
destroyed on October 7th.
   2. Since Mr. Khalil was arrested, the chill in speech I have observed on campus and
experienced firsthand has been drastic and far-reaching. It has even influenced my
decision to have my name publicly redacted in this statement as I do not wish to receive
unwanted attention or become a target of the US government.
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    3. My senior year roommate was an international student who did not give much
thought to political issues such as the Israel-Palestine conflict. Since Mr. Khalil’s arrest,
they told me that they avoided going anywhere near campus protests, not because they
felt threatened by the protestors, but because they feared being seen or associated with
any campus protest would lead to them potentially being detained and deported.
   4. This past April, I took part in a protest in support of the release of Mr. Khalil on
Columbia’s campus.




    5. The combination of Mr. Khalil’s arrest and detention, as well as
                 has had the effect of making me hesitant about publicly expressing my
beliefs about the Israel-Palestine conflict and engaging visibly in protests on university
property.


Dated: June 2nd, 2025                          Signed:

                                               /s/
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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


  Mahmoud KHALIL,
               Petitioner,
  v.
                                                          Case No. 25-cv-01963
  Donald J. TRUMP, in his official capacity as            (MEF-MAH)
  President of the United States; William P.
  JOYCE, in his official capacity as Acting Field         DECLARATION OF
  Office Director of New York, Immigration
  and Customs Enforcement; Yolanda
  PITTMAN, in her official capacity as Warden
  of Elizabeth Contract Detention Facility;
  Caleb VITELLO, Acting Director, U.S.
  Immigration and Customs Enforcement;
  Kristi NOEM, in her official capacity as
  Secretary of the United States Department of
  Homeland Security; Marco RUBIO, in his
  official capacity as Secretary of State; and
  Pamela BONDI, in her official capacity as
  Attorney General, U.S. Department of Justice,

               Respondents.

       I,              , declare under penalty of perjury, pursuant to 28 U.S.C. § 1746,
that the following is true and correct to the best of my knowledge.
1. I am              , a graduate         from Columbia University.
2. Many of my friends who are international students have confided in me
   about their fears of being targeted for deportation if they exercise their right
   to freedom of speech.
3. I know the people I am speaking of are not even able to write in support of
   Mahmoud Khalil because of the danger they are in. They have told me they
   won't follow certain accounts on Instagram, or are deleting Instagram
   posts. Some of my friends have made their accounts private or deleted them
   altogether.
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4. Many of my friends who were excited to start their lives post graduation in
   New York City are considering, or have ultimately decided to, move back to
   the country they came from. These are some of the smartest, most creative
   and kind people I know. Some of the reasons they've told me behind their
   decisions are that they don't like seeing their gay friends being harassed,
   they feel unsupported by the university, and most of all, the targeting of
   Mahmoud has made them afraid they'll be next.
5. It is obvious to me that the effect Mahmoud Khalil’s detainment has had
   has been an increase in fear among my friends from other countries and a
   transformation of their view of the United States. No longer do my friends
   from around the world think of America as a free country that they can start
   their life in, but instead they view it as a dangerous place that is becoming
   more unstable every day. These are compassionate people, dedicated
   scholars, and principled human beings and I have seen them be
   transformed by fears of surveillance and governmental oppression.
6. Personally, as a Jewish student it is a cruel irony that I have spent the last
   months trying vainly to comfort my friends who are afraid that they will be
   taken by the government in the name of keeping me safe.




Dated: June 2nd, 2025                       Signed:




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